Case 1:04-cr-10067-.]DT Document 41 Filed 06/06/05 Page 1 of 2 Page|D 47

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IN THE UNITED STATES DISTRICT COURT as . D'C'
FOR THE WESTERN DISTRICT OF TENNESSEE ' JU~ "6 m h 39

EASTERN DIVISION d ar
UNITED sTATEs oF AMERICA, WQL§R§FL:§_Z§,§§O€TQ
Piaimifr, CKSON
vs. No. 04-10067-T
MICHAEL BRAD IUM:PER,
Defendant.

OR_DER CONTINUING TRIAL AND REPORT DATE
AND EXCLUDING DELAY

 

Upon motion of counsel for the government, With no objection nom defense counsel and
for good cause shown, the report date which is currently scheduled for June 7, 2005, and the trial
date which is currently scheduled for June 13, 2005, are hereby continued. The government
contends that additional time is needed to prepare for trial.

The court finds that the government’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of justice will be served by granting a continuance in order to allow the government more time

to prepare for trial. Accordin l the trial is continued h'om June 13 2005 to une 20 2005 at

 

9:30 A.M. The resulting period of delay, from June 13, 2005, to June 20, 2005, is excluded
pursuant to 18 U.S.C. § 3161(h)(8)(A).

A new report/motion date has been set for June 13, 2005, at 9: 15 a.m.

J S D. TODD ' "
D TES DISTRIC'I` JUDGE

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IT IS SO ORDERED.

 

DATE

Thls document entered on the

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wlth Flule 55 and/Or 32(b) FHCrP on r' -t m ?°Sggance

l ISTRIC COURT - WESTERN D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case l:04-CR-10067 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

